Case 1:18-cv-02192-HG-PK   Document 84-7 Filed 03/04/22   Page 1 of 23 PageID #:
                                    1167




                           Exhibit 5
Case 1:18-cv-02192-HG-PK          Document 84-7 Filed 03/04/22           Page 2 of 23 PageID #:
                                           1168



 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ____________________________________
 AHARON MILLER, et al.                :
                                      :              Case No. 18-cv-2192 (BMC)(PK)
                    Plaintiffs,       :
                                      :
       -against-                      :
                                      :
 ARAB BANK, PLC,                      :
                                      :
                    Defendant.        :
 ____________________________________
 NATHAN PAM, et al.                   :
                                      :              Case No. 18-cv-4670 (BMC)(PK)
                    Plaintiffs,       :
                                      :
       -against-                      :
                                      :
 ARAB BANK, PLC,                      :
                                      :
                    Defendant.        :
 ____________________________________

                  PLAINTIFFS’ SECOND REQUEST FOR THE
         PRODUCTION OF DOCUMENTS TO DEFENDANT ARAB BANK, PLC

          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs hereby
 request that defendant Arab Bank, PLC (“Arab Bank” or “Defendant”) in the above-captioned
 litigation produce and permit Plaintiffs to inspect and copy all of the following documents and
 things which are in the possession, custody or control of Defendant, and/or Defendant’s agents or
 attorneys, within thirty (30) days following the date of service of these requests.

                                         DEFINITIONS

        1.     As used herein, the following terms are defined as indicated:

               a.      “Person” is synonymous with the definition contained in Local Rule 26.3 of
                       the Local Rules of the United States District Courts for the Southern and
                       Eastern Districts of New York (the “Local Rules”).

               b.      “Agent” shall mean any past or present director, officer, counsel,
                       shareholder, representative, consultant or employee of any person or entity
                       or any person who assisted or acted or purported to act or assist for or on
                       behalf of such person or entity.
Case 1:18-cv-02192-HG-PK     Document 84-7 Filed 03/04/22             Page 3 of 23 PageID #:
                                      1169



            c.    “Communication” is synonymous with the definition contained in Local
                  Rule 26.3 of the Local Rules.

            d.    “Meeting” means, without limitation, any assembly, convocation,
                  encounter or contemporaneous presence of two or more persons for any
                  purpose, whether planned, arranged, scheduled or not.

            e.    “Employee” means, without limitation, current and former officers,
                  directors, executives, managers, sales personnel, secretaries, clerical staff,
                  messengers, or any other person employed by Defendant or Defendant’s
                  agents.

            f.    “Document” is synonymous in meaning and equal in scope to the usage of
                  this term in Federal Rule of Civil Procedure 34(a), including, without
                  limitation, electronic or computerized data compilations. A draft or non-
                  identical copy is a separate document within the meaning of this term.

            g.    “Concerning” is synonymous with the definition contained in Local Rule
                  26.3 of the Local Rules.

            h.    “And/Or” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            i.    “All/Each” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            j.    “Number” is synonymous with the definition contained in Local Rule 26.3
                  of the Local Rules.

            k.    “Identify (with respect to persons)” is synonymous with the definition
                  contained in Local Rule 26.3 of the Local Rules.

            l.    “Identify (with respect to documents)” is synonymous with the definition
                  contained in Local Rule 26.3 of the Local Rules.

            m.    “Arab Bank” means Arab Bank, PLC and the scope of the definition is the
                  same as the definition of “Parties” contained in Local Rule 26.3 of the Local
                  Rules. Subsidiaries shall include, but not be limited to, Arab Bank
                  (Switzerland) Limited, Arab Bank Australia Limited, Europe Arab Bank
                  plc, Islamic International Arab Bank plc, Arab Sudanese Bank Ltd, Arab
                  Tunisian Bank, Arab Bank – Syria, Al Arabi Investment Group (AB Invest)
                  LLC, Arab National Leasing Company LLC, Al Niser Al Arabi Insurance
                  Co. plc, Al Arabi Investment Group Company – Palestine, Turkland Bank,
                  Oman Arab Bank, Arab National Bank, Arabia Insurance Co. and
                  Commercial Building Co.




                                            2
Case 1:18-cv-02192-HG-PK     Document 84-7 Filed 03/04/22              Page 4 of 23 PageID #:
                                      1170



            n.    “You” and “Your” refer to Defendant and its directors, officers, agents,
                  employees, representatives, subsidiaries, managing agents, affiliates, or
                  investigators, or its attorneys or their agents, employees, representatives or
                  investigators.

            o.    “Complaints” refers to the operative complaints in the above-captioned
                  actions presently pending before this Court against Arab Bank, PLC (Miller
                  v. Arab Bank, Plc, 18-cv-2192 (BMC)(PK), and Pam v. Arab Bank, Plc, 18-
                  cv-4670 (BMC)(PK)).

            p.    “Documents concerning an account maintained at Arab Bank” means all
                  documents relating to the account, including, but not limited to, all account
                  opening documentation, all “Know Your Customer” (including enhanced
                  due diligence pursuant to 31 CFR § 1010.610) data created concerning the
                  accountholder, all account statements, all cancelled checks and deposit
                  slips, all documentation created or received that indicate funds transfers into
                  or out of the account, all communications by the accountholder to Arab
                  Bank, all communications by Arab Bank to the accountholder, and all
                  communications by Arab Bank, whether internal or external, concerning the
                  account or the accountholder.

            q.    “Saudi Committee” means the Saudi Committee in Support of the Intifada
                  Al Quds or Saudi Committee for the Relief of the Palestinian People a/k/a
                  Al-Lajna al-Saudiah li-Ighathat al-Sha’ab al-Falastini a/k/a ‫ﺍﻟﻠﺠﻨﺔ ﺍﻟﺴﻌﻮﺩﻳﺔ‬
                  ‫ﻻﻏﺎﺛﺔ ﺍﻟﺸﻌﺐ ﺍﻟﻔﻠﺴﻄﻴﻨﻲ‬, as described in paragraph 33 of the Declaration of
                  Shukry Bishara dated November 11, 2004 (“Bishara Declaration”), filed in
                  support of Arab Bank’s motion to dismiss in Linde v. Arab Bank, Plc, 04-
                  cv-2799 (BMC)(PK).

            r.    “Second Intifada” means the Al Aqsa Intifada or Intifada Al Quds
                  commenced on or about September 29, 2000 within the geographic area of
                  the State of Israel and areas controlled by the Palestinian Authority and
                  HAMAS, i.e., the West Bank and Gaza Strip. The Second Intifada had no
                  official ending date, but is generally considered to have concluded at the
                  end of 2004.

            s.    “HAMAS” means Harakat al-Muquawama al-Islamiyya or Islamic
                  Resistance Movement as well as any persons acting for, or on behalf of such
                  entity, and persons who are members, directors, employees, operatives or
                  agents of such entity. HAMAS also means entities, including without
                  limitation zakat committees and charitable societies, that are alter egos or
                  controlled by HAMAS.

            t.    “PIJ” means Palestinian Islamic Jihad as well as any persons acting for, or
                  on behalf of such entity, and persons who are members, directors,
                  employees, operatives or agents of such entity. PIJ also means entities,



                                            3
Case 1:18-cv-02192-HG-PK    Document 84-7 Filed 03/04/22             Page 5 of 23 PageID #:
                                     1171



                  including without limitation zakat committees and charitable societies, that
                  are alter egos or controlled by PIJ.

            u.    “PFLP” means Popular Front for the Liberation of Palestine as well as any
                  persons acting for, or on behalf of such entity, and persons who are
                  members, directors, employees, operatives or agents of such entity. PFLP
                  also means entities, including without limitation zakat committees and
                  charitable societies, that are alter egos or controlled by PFLP.

            v.    “AAMB” means Al Aqsa Martyrs Brigade as well as any persons acting for,
                  or on behalf of such entity, and persons who are members, directors,
                  employees, operatives or agents of such entity. AAMB also means entities,
                  including without limitation zakat committees and charitable societies, that
                  are alter egos or controlled by AAMB.

            w.    “Fatah” means the Palestinian National Liberation Movement as well as any
                  persons acting for, or on behalf of such entity, and persons who are
                  members, directors, employees, operatives or agents of such entity. Fatah
                  also means entities, including without limitation zakat committees and
                  charitable societies, that are alter egos or controlled by Fatah.

            x.    “PLO” means the Palestine Liberation Organization as well as any persons
                  acting for, or on behalf of such entity, and persons who are members,
                  directors, employees, operatives or agents of such entity. PLO also means
                  entities, including without limitation zakat committees and charitable
                  societies, that are alter egos or controlled by the PLO.

            y.    “Palestinian Authority” or “PA” means the interim self-government body
                  established in 1994 to govern the West Bank and Gaza Strip as well as any
                  persons acting for, or on behalf of such entity, and persons who are
                  members, directors, employees, operatives or agents of such entity.

            z.    “Palestinian Territories” means the geographic area controlled by the
                  Palestinian Authority and HAMAS, i.e., the West Bank and Gaza Strip.

            aa.   “Martyr” means a person killed as a result of a violent confrontation with
                  Israeli security forces commonly referred to in Arabic as a “Shahid” which,
                  in terms of this document request, refers to persons deemed or designated
                  martyrs or “Shuhada” by the Palestinian Authority, HAMAS, the Saudi
                  Committee or Al Ansar.

            bb.   “Suicide Bomber” means a person who kills or attempts to kill other persons
                  by detonating explosives concealed on his or her body and loses or risks
                  losing his or her life by doing so. A Suicide Bomber is referred to in Arabic
                  as an “ishtishhadi.”




                                            4
Case 1:18-cv-02192-HG-PK          Document 84-7 Filed 03/04/22             Page 6 of 23 PageID #:
                                           1172



                cc.    “Generated” means written, typed, assembled, created by a computer
                       program or otherwise originating from or at the behest of the person or
                       entity that created the document or other thing which is the subject of the
                       request.

                dd.    “SDGT” means an individual or entity designated pursuant to Executive
                       Order 13224 by the U.S. government as a Specially Designated Global
                       Terrorist.

                ee.    All references herein to Bates numbers (e.g., ABPLC211999) refer to
                       documents produced by Arab Bank to plaintiffs in Linde v. Arab Bank, Plc,
                       04-cv-2799 (BMC)(PK) bearing those Bates numbers.

                                        INSTRUCTIONS

         1.     Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these Document
 Requests shall be deemed to be continuing in nature so that if Defendant, its directors, officers,
 employees, agents, or any person acting, or purporting to act, on its behalf subsequently discovers
 or obtains possession, custody or control of any Document previously requested or required to be
 produced, Defendant shall promptly make such Document available.

         2.     In producing Documents and other materials, You are to furnish all Documents or
 things in Your possession, custody or control, regardless of whether such Documents or materials
 are possessed directly by You or Your directors, officers, agents, employees, representatives,
 subsidiaries, managing agents, affiliates, or investigators, or by your attorneys or their agents,
 employees, representatives or investigators.

        3.      In producing Documents, You are to produce the original of each Document
 requested, together with all non-identical copies and drafts of such Documents. If the original of
 any Document cannot be located, a copy shall be produced in lieu thereof, and shall be legible and
 bound or stapled in the same manner as the original.

         4.     If any requested Document or thing cannot be produced in full, You are to produce
 it to the extent possible, indicating which Document, or portion of such Document, is being
 withheld, and the reason that Document is being withheld.

          5.     Documents not otherwise responsive to these Document Requests shall be
 produced if such Documents mention, discuss, refer to, or explain the Documents that are
 implicated by these Document Requests, or if such Documents are attached to Documents
 implicated by these Document Requests and constitute routing slips, transmittal memoranda,
 letters, cover sheets, comments, evaluations or similar materials.

       6.       All Documents shall be produced in the same order as they are kept or maintained
 by You in the ordinary course of Your business.




                                                 5
Case 1:18-cv-02192-HG-PK          Document 84-7 Filed 03/04/22            Page 7 of 23 PageID #:
                                           1173



        7.     All Documents shall be produced in the file folder, envelope or other container in
 which the Documents are kept or maintained by You. If for any reason the container cannot be
 produced, produce copies of all labels or other identifying marks.

         8.     Documents shall be produced in such fashion as to identify the department, branch
 or office in whose possession they were located and, where applicable, the natural person in whose
 possession they were found and the business address of each Document’s custodian(s).

        9.      Documents attached to each other should not be separated.

         10.    If a Document once existed and has subsequently been lost, destroyed, or is
 otherwise missing, please provide sufficient information to identify the Document and state the
 details concerning its loss.

        11.     In responding to these Document Requests You are to include Documents: (a)
 obtained from witnesses who gave information to any governmental agency or investigatory body;
 (b) that constitute or concern testimony or summaries of testimony or other statements in
 connection with any governmental agency or investigatory body proceedings or investigations; or
 (c) obtained on Your behalf by counsel in preparing for testimony or interviews before any
 governmental agency or investigatory body.

         12.    If You claim the attorney-client privilege or any other privilege or work product
 protection for any Document, You shall provide a detailed privilege log that contains at least the
 information required by Local Rule 26.2(a)(2)(A) of the Local Rules for each Document that You
 have withheld.

        13.    Unless a different time period is specified, the relevant time period is January 1,
 1998 through December 31, 2004 (the “Relevant Time Period”).

                                 DOCUMENTS REQUESTED

 DOCUMENTS CONCERNING PALESTINIAN ISLAMIC JIHAD (“PIJ”)

         1.     All Documents concerning accounts maintained at Arab Bank by the following PIJ
 leaders and operatives:

                a.     Bisam Abd al-Rahman Ahmad Abu Akar; and
                b.     Issa Muhammad Ismai’l al-Batat.

        2.      All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following PIJ leaders, operatives and agents:

                a.     Ziyad al-Nakhala;
                b.     Sheikh Ramadan Abdalla Shalah;
                c.     Sheikh Abd al-Aziz Awda;
                d.     Fathi Shiqaqi;



                                                 6
Case 1:18-cv-02192-HG-PK   Document 84-7 Filed 03/04/22       Page 8 of 23 PageID #:
                                    1174



            e.    Sami al-Arian;
            f.    Bashir Musa Muhammad Nafi;
            g.    Muhammad Ayub Muhammad Sidr;
            h.    Luay Jihad Fathallah al-Sa’di;
            i.    Hanadi Taysir Abd al-Malek Jaradat;
            j.    Muhammad Fares Bashir Jaradat;
            k.    Khaled Hussein Jaradat;
            l.    Muhammad Abd al-Aziz Ghanem;
            m.    Mustafa Tawfiq Muhammad Awd;
            n.    Muhammad Saleh Muhammad Sayfi;
            o.    Shafiq Ali Suliman Radaida;
            p.    Ataf Dawud Hasan Aliyan;
            q.    Nihaya Khaled Mahmud al-Khatib;
            r.    Tamer Khuweir;
            s.    Ghasan al-Tirmasi;
            t.    Muhammad Dahduh;
            u.    Mahmud al-Majzub;
            v.    Husam Jaradat;
            w.    Ahmad Abd al-Rahman Abu Hasira;
            x.    Mustafa Tawfiq Zaydan;
            y.    Salah Abu Hasnin;
            z.    Mahmud al-Hindi;
            aa.   Muqlid Hamid;
            bb.   Iyad Ahmad Yusuf Sawalha;
            cc.   Muhammad Said al-Hindi;
            dd.   Ali Suliman Said al-Sa’adi;
            ee.   Ahmad al-Mudalal;
            ff.   Anwar Mahmud Ahmad Hamran;
            gg.   Muhammad Saqr Ragheb al-Zatme;
            hh.   Murad Abd al-Fatah Abu al-Asal;
            ii.   Nu’man Taher Sadeq Tahaina;
            jj.   Bassam Sa’adi;
            kk.   Sheikh Sharif Tahayna;
            ll.   Usri Fayad;
            mm.   Dhiyab Abd al-Rahim Abd al-Rahman al-Shweiki;
            nn.   Akef Fayez Nazal;
            oo.   Ali Suliman al-Safuri;
            pp.   Iyad Ahmad Yusuf Sawalha;
            qq.   Riyad Muhammad Ali Badir;
            rr.   Sameh Samir Muhammad Shubki;
            ss.   Bahaa Abu Al Ata;
            tt.   Tareq Qa’adan;
            uu.   Shahdi Mhanna;
            vv.   Ali Zafour;
            ww.   Raed Jundiya;
            xx.   Khaled al-Batsh; and



                                        7
Case 1:18-cv-02192-HG-PK          Document 84-7 Filed 03/04/22              Page 9 of 23 PageID #:
                                           1175



                yy.    Nasser Ahmad Yussuf Shawkah.

        3.     All Documents concerning accounts maintained at Arab Bank by the following PIJ
 zakat committees, charitable societies and social institutions or transfers involving those
 committees, societies and institutions:

                a.     Al-Ihsan Charitable Society in Bethlehem;

                b.     Al-Ihsan Charitable Society in Gaza;

                c.     Al-Ihsan Charitable Society in Jenin;

                d.     Al-Ihsan Charitable Society in Tulkarem;

                e.     Dar al-Huda Society;

                f.     Al-Jama’a al-Islamiya a/k/a al-Rabita al-Islamiya;

                g.     Banners of Charity a/k/a Bayareq al-Ataa Society;

                h.     Islamic An-Naqqa Society for Women Bethlehem a/k/a Islamic Women
                       Charitable Society for Purity; and

                i.     Cultural Forum of Palestinian Islamic Jihad Women.

         4.      All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following PIJ Suicide Bombers, including,
 but not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

                1.     Faysal Mustafa Husein Abu Sariya (see, e.g., ABPLC026392);
                2.     Family of Mustafa Faysal Mustafa Abu Sariya;
                3.     Hilwa Muhammad Abd al-Fatah Rashed (see, e.g., ABPLC026327);
                4.     Family of Abd al-Fatah Muhammad Musleh Rashed;
                5.     Ibrahim Mustafa Muhammad Abu Shaduf (see, e.g., ABPLC024038);
                6.     Family of Nidal Ibrahim Mustafa Abu Shaduf;
                7.     Muhammad Yusuf Nimer Abu Sayfin (see, e.g., ABPLC026322);
                8.     Family of Nimer Muhammad Yusuf Abu Sayfin;
                9.     Ishaq Abdalla Ibrahim Nabtiti (see, e.g., ABPLC030742);
                10.    Family of Akram Ishaq Abdalla al-Nabtiti;
                11.    Hilal ‘Abd Al-Sattar Ali Sabah (see, e.g., ABPLC023866);
                12.    Family of Alaa’ Hilal Abd al-Satar Sabah;
                13.    Muhammad Ali Nayef Sawitat (see, e.g., ABPLC030873);
                14.    Family of Yusuf Muhammad Ali Sawitat;
                15.    Taysir Shehada Rashid Jabali (see, e.g., ABPLC026335);


                                                 8
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22             Page 10 of 23 PageID #:
                                           1176



                16.    Family of Nidal Taysir Shehada Jabali;
                17.    Fatima Isma’il Ahmad Sa’ad (see, e.g., ABPLC030811);
                18.    Family of Dawud Ali Ahmad Sa’ad Abu Sawi;
                19.    Faraj al-Ara’ir (see, e.g., ABPLC010575);
                20.    Family of Nabil Faraj al-Ara’ir;
                21.    Kawthar Hussein Khalil al-Shaweki (see, e.g., ABPLC026278);
                22.    Family of Hatem Yaqin Ayesh Al-Sheweikeh;
                23.    Abd al-Mun’im Ahmad Midraj Daraghima (see, e.g., ABPLC026268);
                24.    Family of Ahmad Abd al-Mun’im Daraghima;
                25.    Ghada Ibrahim Sa’id Ayesh (see, e.g., ABPLC030778);
                26.    Family of Yusuf Muhammad Mahmud Ayesh;
                27.    Salim Najib Salim Abu Diyak (see, e.g., ABPLC030840);
                28.    Family of Ra’fat Salim Abu Diyak;
                29.    Mahmud Baker Saleh Naser (see, e.g., ABPLC023953);
                30.    Family of Muhammad Mahmud Baker Naser;
                31.    Jamil Husein Ya’cob Faraj (see, e.g., ABPLC030738);
                32.    Family of Muhammad Jamil Hussein Faraj;
                33.    Malika Tawfiq al-Qader Tahayna (see, e.g., ABPLC030823); and
                34.    Family of Abd al-Karim Issa Khalil Tahayna.

         5.      All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of families of the following PIJ “Martyrs,” including, but not
 limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

                1.     Abd al-Rahman As’ad Naser Daqa (see, e.g., ABPLC030796);
                2.     Mahdiya Mahmud Abd al-Naser Daqa (see, e.g., ABPLC019161,
                       ABPLC12281);
                3.     Family of As’ad Abd al-Rahman As’ad Naser Daqa;
                4.     Hilwa Muhammad Abd al-Fatah Rashed (see, e.g., ABPLC026327);
                5.     Family of Abd al-Fatah Muhammad Musleh Rashed;
                6.     Samah Jawdat Salim Abu al-Wafa (see, e.g., ABPLC030976);
                7.     Family of Mahmud “Nursi” Tawalbeh;
                8.     Rasmi Sadeq Hamad Basharat (see, e.g., ABPLC024039);
                9.     Family of Walid Rasmi Sadeq Basharat;
                10.    Muhammad Nayef Fayez Hardan (see, e.g., ABPLC023856);
                11.    Family of Iyad Muhammad Nayef Hardan;
                12.    Mahmud ‘Abd Al-Rehim Nimer Nimer (see, e.g., ABPLC023855);
                13.    Family of Ashraf Mahmud abd al-Rahim Nimer Bardawil;
                14.    Abd al-Rahman Hasan abd al-Qader al-Muqid (see, e.g., ABPLC026261);
                15.    Family of Mahmud abd al-Rahman al-Muqid;
                16.    Abd Muhammad Zbeidi (see, e.g., ABPLC030904);
                17.    Family of Taha Muhammad Abd al-Rahman Zbeidi;



                                                 9
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22            Page 11 of 23 PageID #:
                                           1177



                18.    Ahmad Muhammad Suliman Abu Khader (see, e.g., ABPLC026337);
                19.    Family of Muhammad Ahmad Abu Khader Basharat;
                20.    Suzan Midhat Fayez Abd al-Al (see, e.g., ABPLC021691);
                21.    Family of Muhammad Atwa Abd al-Al;
                22.    Rana Ibrahim Ali Abu Musa (see, e.g., ABPLC026417);
                23.    Family of Munir Mustafa Ibrahim Abu Mussa;
                24.    Kifaya Ahmad Sadiq Asaf (see, e.g., ABPLC026396);
                25.    Family of Wa’el Mutlaq Muhammad Asaf;
                26.    Muhammad Hashem Khalil al-Natsha (see, e.g., ABPLC030884);
                27.    Family of Nabil Muhammad Hashem al-Natsha;
                28.    Mahmud Abd Allah Hamad Makhluf (see, e.g., ABPLC030882);
                29.    Family of Mutasem Mahmud Abdallah Makhluf;
                30.    Subhi Abd al-Karim Abd al-Fatah Balbisi (see, e.g., ABPLC030735);
                31.    Family of Maher al-Balbisi;
                32.    Samiya Kamal Nazmi Abd al-Ghani (see, e.g., ABPLC030645);
                33.    Family of Anwar Awni Abd al-Ghani;
                34.    Ahmad Tawfiq Muhammad Arida (see, e.g., ABPLC030765); and
                35.    Family of Sufyan Arida.

         6.      All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following PIJ terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

                1.     Raqiya Muhammad Hasan Basharat (see, e.g., ABPLC019165);
                2.     Najwi Hamdan Bakir Abu Hasira;
                3.     Ikhlas Abd al-Rahim Abd al-Rahman al-Shuweiki (see, e.g.,
                       ABPLC019107);
                4.     Mahmud Qasem Arafat al-Razem (see, e.g., ABPLC012253);
                5.     Hanu Adel Ibrahim Jaradat (see, e.g., ABPLC19176);
                6.     Hilwa Suliman Saleh al-Batat (see, e.g., ABPLC019220);
                7.     Badriya Muhammad Nimer Mardawi (see, e.g., ABPLC018971);
                8.     Muna Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC011055);
                9.     Abd al-Ra’uf Taher Tahaina (see, e.g., ABPLC019260);
                10.    Jamila Safi Muhammad Safi (see, e.g., ABPLC019018);
                11.    al-Maza Ramadan Mahmud al-Husni (see, e.g., ABPLC011343);
                12.    Ayub Muhammad Dawud Sidr (see, e.g., ABPLC012667);
                13.    Nasrin Salem Mahmud Jaradat (see, e.g., ABPLC019075);
                14.    Subhi Muhammad Abd el-Ghani Abu Tabikh (see, e.g., ABPLC012279);
                15.    Ya’qub Muhammad Abu Rumi (see, e.g., ABPLC012680);
                16.    Amina Amani Mutlaq Asaf (see, e.g., ABPLC019149);
                17.    Ibrahim Awd Allah Ahmad al-Hih (see, e.g., ABPLC018953); and
                18.    Malkiya Tawfiq Muhammad Arida (see, e.g., ABPLC019014).



                                                10
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22            Page 12 of 23 PageID #:
                                           1178




         7.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the following PIJ operatives, including, but not limited to,
 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the PIJ operatives,
 and death certificates, photographic identification, certificates of martyrdom and/or proof of
 incarceration for the individuals that qualified PIJ operatives to receive payment:

                1.     Amar Ahed Wadi’ al-Shubki (see, e.g., ABPLC016945);
                2.     Hazem Yaser Irhim (see, e.g., ABPLC013018);
                3.     Jamal Hasan Muhammad Suman (see, e.g., ABPLC018961);
                4.     Khaled al-Zaq (see, e.g., ABPLC013031);
                5.     Mahmud abd al-Rahman al-Muqid (see, e.g., ABPLC013472);
                6.     Abd al-Rahman Hasan Abd al-Qader al-Muqid (see, e.g., ABPLC026261);
                7.     Muhammad Abd al-Aziz al-Batran (see, e.g., ABPLC019209);
                8.     Muhammad Khalil Abd al-Latif al-Sheikh Khalil (see, e.g.,
                       ABPLC023849);
                9.     Fahed Abdallah Muhammad Sawalha (see, e.g., ABPLC017138); and
                10.    Khaled Khalil Hamed (see, e.g., ABPLC018460).

 DOCUMENTS CONCERNING POPULAR FRONT FOR THE LIBERATION OF
 PALESTINE (“PFLP”)

       8.      All Documents concerning accounts maintained at Arab Bank by the following
 PFLP leaders, operatives and agents:

                a.     Khader Taleb Khader Dhiyab.

        9.      All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following PFLP leaders and operatives:

                a.     George Habash;
                b.     Mustafa al-Zibri AKA Abu Ali Mustafa;
                c.     Ahmad Sa’adat a/k/a Ahmad Sa’dat Abd al-Rasul;
                d.     Abd al-Rahim Maluh;
                e.     Maryam Abu Diqa;
                f.     Muhammad Shauqi Sa’id Nazal;
                g.     Nureddin Adnan Sa’id Daoud;
                h.     Jamal Hindi Zayed;
                i.     Jamil Mizher;
                j.     Ra’fat Ali Muhammad al-Aruqi;
                k.     Shaher Ali Mahmoud al-Rai;
                l.     Maher Ali Mahmoud al-Rai;
                m.     Ali Atiya Jaradat;
                n.     Amer Muhammad Musa Jafal;
                o.     Ahmad Abu al-Sa’ud Abd al-Razaq Hanani;



                                                11
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22             Page 13 of 23 PageID #:
                                           1179



                p.     Yaman Tayeb Ali Faraj;
                q.     Ra’ed Musa Ibrahim Nazal;
                r.     Adnan Muhammad Ata Maragha;
                s.     Othman Muhammad Ata Maragha;
                t.     Handuma Rashed Ibrahim Wishah;
                u.     Kamil Sa’id Abu Hanish;
                v.     Basel Asmar;
                w.     Ahed Abu Ghalma; and
                x.     Ayman al-Hur.

       10.     All Documents concerning accounts maintained at Arab Bank by the following
 PFLP social institutions or transfers involving those institutions:

                a.     Al-Karmel Cultural and Social Development Association;

                b.     Health Work Committees a/k/a Union of Health Work Committees;

                c.     Union of Agricultural Work Committees;

                d.     Progressive Labor Front; and

                e.     Union of Palestinian Women’s Committees.

         11.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following PFLP Suicide Bombers, including,
 but not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:

                1.     Muhammad Sidqi Hasan Nasar (see, e.g., ABPLC030853);
                2.     Family of Shadi Muhammad Sidqi Nasar;
                3.     Khader Muhammad Abu Sariya (see, e.g., ABPLC028693);
                4.     Family of Fu’ad Khader Abu Sariya;
                5.     Yusuf Muhammad Salameh al-Sa’idani (see, e.g., ABPLC030608);
                6.     Family of Isma’il Yusuf al-Sa’idani;
                7.     Ahed Mahmud Abdalla Abd el-Hafez (see, e.g., ABPLC030698); and
                8.     Family of Sadeq Ahed Abd el-Hafez.

         12.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of families of the following PFLP “Martyrs,” including, but not
 limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:


                                                 12
Case 1:18-cv-02192-HG-PK          Document 84-7 Filed 03/04/22            Page 14 of 23 PageID #:
                                            1180




                1.     Ahlam Nayef Nayef Al-Jalad (see, e.g., ABPLC03065);
                2.     Family of Ayman Muhammad Fayeq Jalad;
                3.     Family of the Martyr Ali Sayel Muhammad Swidan (see, e.g.,
                       ABPLC01167);
                4.     Muhammad Mahmud ‘Abd Al-Qader Harb (see, e.g., ABPLC030836);
                5.     Family of Khalil Muhammad Mahmud al-Harb;
                6.     Abd Al-Magid Najib Naji Daghlas (see, e.g., ABPLC026318);
                7.     Family of Mutaz Abd al-Majid Najib Daghlas;
                8.     Mahmud Dhib As’ad Subh (see, e.g., ABPLC026357); and
                9.     Family of Umar Mahmud Dhib Subh.

         13.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following PFLP terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

                1.     Farida Ali Daqa (see, e.g., ABPLC011745);
                2.     Watfa Abd al-Fatah Muhammad Hanani (see, e.g., ABPLC011796);
                3.     Watfa Ata Jaradat (see, e.g., ABPLC019217);
                4.     Muhammad Musa Mahmud Jafal (see, e.g., ABPLC012325);
                5.     Jamila Ibrahim Zayed (see, e.g., ABPLC012033);
                6.     Zakiya Abd al-Rahman Tarkhan (see, e.g., ABPLC011084);
                7.     Manahel Ali Ibrahim Shuqayrat (see, e.g., ABPLC012318);
                8.     Awad Yusuf Mustafa Awad (see, e.g., ABPLC011098);
                9.     Hanan Yusuf Musa Abu Ghalmi (see, e.g., ABPLC019024);
                10.    Yusra Farid Rashid Mahrum (see, e.g., ABPLC012294);
                11.    Umar Muhammad Nimer Abu Rashed (see, e.g., ABPLC019659);
                12.    Hikmat Mustafa Hasan al-Aruqi (see, e.g., ABPLC011332); and
                13.    Sabiha Umar Yusuf al-Far (see, e.g., ABPLC011130).

         14.    All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the following PFLP operatives, including, but not limited to,
 transaction records, account statements, account opening documentation, communications
 concerning the transactions and/or recipients, receipts issued by Arab Bank to the PFLP operatives,
 and death certificates, photographic identification, certificates of martyrdom and/or proof of
 incarceration for the individuals that qualified PFLP operatives to receive payment:

                1.     Abd al-Rahman Nayef Yusuf al-Salibi (see, e.g., ABPLC019465);
                2.     Ali Muhammad Abd al-Hadi Sayam (see, e.g., ABPLC019553);
                3.     Ali Saleh Ibrahim Darwish (see, e.g., ABPLC019481);
                4.     Dhib Uthman Ali al-Najar (see, e.g., ABPLC019394);
                5.     Fawzi Talab Nasar al-Wahidi (see, e.g., ABPLC019582);



                                                 13
Case 1:18-cv-02192-HG-PK        Document 84-7 Filed 03/04/22          Page 15 of 23 PageID #:
                                          1181



               6.     Hasan Mahmud Hasan Labad (see, e.g., ABPLC019373);
               7.     Khaled Abd al-Rahman Muhammad Matar (see, e.g., ABPLC019456);
               8.     Imad Saleh Husein Abu Haya (see, e.g., ABPLC019556);
               9.     Isa Mahmud Jaber al-Ghul (see, e.g., ABPLC019535);
               10.    Salah Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC19458);
               11.    Nidal Muhammad Awda Salameh (see, e.g., ABPLC019649);
               12.    Ramadan Atiya Ibrhaim Abu Qamar (see, e.g., ABPLC019372);
               13.    Rashid Muhammad Rashid al-Sidawi (see, e.g., ABPLC019371);
               14.    Rashid Saleh Muhammad al-Mabhuh (see, e.g., ABPLC019370);
               15.    Riyad Saleh Jaber al-Ghul (see, e.g., ABPLC019376);
               16.    Muhammad Ibrahim Rajab Jarwan (see, e.g., ABPLC019600); and
               17.    Muhammad Ma’ali Ubayd Abu Samra (see, e.g., ABPLC019568).

 DOCUMENTS CONCERNING PALESTINE LIBERATION ORGANIZATION (“PLO”)/
 PALESTINIAN AUTHRORITY (“PA”) / FATAH / AL AQSA MARTYRS BRIGADE
 (“AAMB”)

        15.  All Documents concerning accounts maintained at Arab Bank by the following
 Fatah/AAMB leaders, operatives and agents:

               a.     Yasser Arafat;
               b.     Marwan Barghuti;
               c.     Muhammad Dahlan
               d.     Nayef Abu-Sharakh; and
               e.     Bilal Abu Amsha.

        16.     All Documents concerning accounts at Arab Bank or funds transfers by Arab Bank
 involving the following Fatah/AAMB leaders and operatives:

               a.     Faruq Qadumi;
               b.     Mahmud Abu Hamam;
               c.     Maslama Thabet;
               d.     Khaled Abu Hilal;
               e.     Osama Khaled al-Silawi;
               f.     Naser Badawi;
               g.     Naser Naji Abu Hamid;
               h.     Fadi Qafisha;
               i.     Sirhan Sirhan;
               j.     Zakaria Zbeidi;
               k.     Ahmad Yusuf Maghrabi;
               l.     Mahmud Ahmad Muhammad Shawer;
               m.     Marwan Kaid Mutliq abd al-Karim Zalum;
               n.     Family of Muhammad Mashhur Muhammad Hashaikeh;
               o.     Qahira Said Ali Sa’adi;
               p.     Sanaa’ Shahada;
               q.     Abd al-Karim Rateb Yunes Aweis;



                                              14
Case 1:18-cv-02192-HG-PK     Document 84-7 Filed 03/04/22         Page 16 of 23 PageID #:
                                       1182



              r.    Naser Jamal Musa Shawish;
              s.    Mohammed Qasem Ahmed Aradah;
              t.    Mohammed Said Ali Kablawi;
              u.    Khad’er Amin Mohammed Dabiyah;
              v.    Atef Abayat;
              w.    Ahmad Taleb Mustafa Barghuthi al-Faransi;
              x.    Majed Qini;
              y.    Munzar Mahmoud Khalil Noor;
              z.    Tawfiq Tirawi;
              aa.   Amjad Mahmud Ibrahim Fakhuri;
              bb.   Muhammad Hijazi;
              cc.   Alaa Tafesh;
              dd.   Haytham Abu al-Naja;
              ee.   Zaher Abu Harbid;
              ff.   Nasser al-Din Abu Harbid;
              gg.   Ahmad Hilis;
              hh.   Hassan ‘Atiya Hassan Madhoun;
              ii.   Na’el al-Sharif;
              jj.   Jamil Khalaf Mustafa Hamid;
              kk.   Riyad Dakhlallah al-Amur;
              ll.   Ibrahim Musa Salem Abayat;
              mm.   Muhssien Attah;
              nn.   Alaa ‘Abd al-Kareen;
              oo.   Muhammad Hamash;
              pp.   Zaynab Ali Abu Salem a/k/a Zeinab Ali Issa Abu Salem;
              qq.   Mohammed Muhtasib; and
              rr.   Amnah Reehan.

      17.    All Documents concerning accounts maintained at Arab Bank by the following
 PLO/PA/Fatah social institutions or transfers involving those institutions:

              a.    Palestine National Fund
              b.    Fatah Central Committee;
              c.    Fatah Youth Movement;
              d.    General Union of Palestinian Students;
              e.    Civil Society Organizations Commission;
              f.    Fatah Revolutionary Council;
              g.    Fatah Mobilization and Organization Commission;
              h.    Martyr Institute;
              i.    Development Charitable Society;
              j.    Give Gaza Society;
              k.    Vanguards of the Popular Army a/k/a Tala’i al-Jaysh al-Sha’bi;
              l.    Al-Qawasmeh Neighbourhood Charity a/k/a Charitable Al-Qawasmeh
                    Neighborhood Society;



                                           15
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22             Page 17 of 23 PageID #:
                                           1183



                m.     Birzeit University Fatah Youth Movement;
                n.     Palestinian Authority Ministry of Detainees and ex-Detainees;
                o.     Palestinian Authority Economic Affairs Department; and
                p.     Palestinian Authority Institute for the Care of Martyrs’ Families and the
                       Injured.

        18.      All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following Fatah/AAMB Suicide Bombers,
 including, but not limited to, transaction records, account statements, account opening
 documentation, communications concerning the transactions and/or recipients, receipts issued by
 Arab Bank to account holders and/or payees, and death certificates, photographic identification
 and/or certificates of martyrdom for the individuals that qualified the account holder or payee to
 receive payment:

                1.     Ahmad Abd al-Rahman Subh Daraghima (see, e.g., ABPLC030781);
                2.     Family of Muhammad Ahmad Abd al-Rahman Daraghima Shu’ani;
                3.     Abd al-Qader Abd al-Jaber Abd al-Qader Khaled (see, e.g.,
                       ABPLC030693);
                4.     Family of Abd al-Jaber Abd al-Qader Abd al-Jaber Khaled;
                5.     Wasfiya Mabruk Saleh Idris (see, e.g., ABPLC030751);
                6.     Family of Wafa’ Ali Khalil Idris;
                7.     Maysun Misbah Saleh Awda (see, e.g., ABPLC030887);
                8.     Family of Yaser Sa’id Musa Awda;
                9.     Abd al-Fatah Hafez Sa’id Yasin (see, e.g., ABPLC030874);
                10.    Family of Umar Abd al-Fatah Hafez Yasin;
                11.    Jihad Ibrahim al-Titi (see, e.g., ABPLC016754);
                12.    Family of Jihad Ibrahim al-Titi;
                13.    Muhammad Mahmud Ahmad Hasuna (see, e.g., ABPLC030601);
                14.    Family of Ibrahim Muhammad Mahmud Hasuna;
                15.    Ibrahim Sa’id Ibrahim Ramadan (see, e.g., ABPLC030850);
                16.    Family of Sa’id Ibrahim Ramadan;
                17.    Wafaa’ Ibrahim Abd al-Hafez Wahadna (see, e.g., ABPLC024009);
                18.    Family of Ibrahim Muhammad al-Wahadna;
                19.    Taleb Salem Ali al-Dar’awi (see, e.g., ABPLC023932);
                20.    Family of Salem Taleb Salem al-Dar’awi;
                21.    Sawsan Samih Fayez Hamad (see, e.g., ABPLC026346); and
                22.    Family of Nazir Muhammad Mahmud Hamad.

         19.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of families of the following Fatah/AAMB “Martyrs,” including,
 but not limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to
 account holders and/or payees, and death certificates, photographic identification and/or
 certificates of martyrdom for the individuals that qualified the account holder or payee to receive
 payment:



                                                 16
Case 1:18-cv-02192-HG-PK   Document 84-7 Filed 03/04/22     Page 18 of 23 PageID #:
                                     1184



             1.    Family of the martyr Qusai Faysal Tawfiq Zahran (see, e.g.,
                   ABPLC011683);
             2.    ‘Aisha Nimer Ahmad Astiti (see, e.g., ABPLC030949);
             3.    Family of Zuheir Muhammad Asad Astiti;
             4.    Wafaa Yusuf Dawud Amer (see, e.g., ABPLC030950);
             5.    Family of Ziyad Ibrahim Ayd Amer;
             6.    Muhammad Jum’a Muhammad Abu Bakra (see, e.g., ABPLC026406);
             7.    Family of Abd al-Rahman Muhammad Abu Bakra;
             8.    Imama Amin Suliman Istiti (see, e.g., ABPLC026305);
             9.    Family of Ikrima Muhammad Khader Istiti;
             10.   Rania Mahmud Abd al-Mun’am al-Julani (see, e.g., ABPLC025964);
             11.   Family of Ali Ibrahim Abd al-Rahman al-Julani;
             12.   Muhammad Hafez Qasem Sawafita (see, e.g., ABPLC023918);
             13.   Family of Amin Muhammad Hafez Sawafita;
             14.   Izat Muhammad Sa’id Zakarna (see, e.g., ABPLC030700);
             15.   Family of Dargham Izat Muhammad Zakarna;
             16.   Muhammad Hasan Dar Qadi (see, e.g., ABPLC023927);
             17.   Family of Hasan Muhammad Hasan al-Qadi;
             18.   Abd al-Qader Abd al-Razeq (see, e.g., ABPLC010761);
             19.   Family of Jamal Abd al-Qader Abd al-Razeq;
             20.   Mirfat Amin Muhammad Nawawira (see, e.g., ABPLC030658);
             21.   Family of Jamal Ubayd Allah Nawawira Abayat;
             22.   Mahmud Othman Al-Alul (see, e.g., ABPLC011608);
             23.   Family of Jihad Mahmud Othman al-Alul;
             24.   Jamal Taya Shahada Qabala (see, e.g., ABPLC030807);
             25.   Family of Hukm Jamal Taya Qabala;
             26.   Hamdi Saleh Muhammad Awd (see, e.g., ABPLC026195);
             27.   Family of Imad Hamdi Saleh Awd;
             28.   Umar Ali Hamad Jaser (see, e.g., ABPLC026205);
             29.   Family of Mahmud Umar Ali Jaser;
             30.   Ata Fares Ataya Jaber (see, e.g., ABPLC026233);
             31.   Family of Talat Ata Fares Jaber;
             32.   Amal Hussein Ali Aghbariya (see, e.g., ABPLC030982);
             33.   Family of Nidal Muhammad Tawfiq Aghbariya;
             34.   Muhammad Tawfiq Mustafa Aghbariya (see, e.g., ABPLC030952);
             35.   Amal Rasmi Abd Al-Khaleq Azam (see, e.g., ABPLC023845);
             36.   Family of Ramadan Ismail Muhammad Azam;
             37.   Ahed Hasan Khalil Anbas (see, e.g., ABPLC026317);
             38.   Family of Mustafa Ahed Hasan Anbas;
             39.   Ali Muhammad Mustafa al-Sus (see, e.g., ABPLC030633);
             40.   Family of Muhammad Ali Muhammad al-Sus;
             41.   Ramadan Muhammad Ramadan al-Kafarna (see, e.g., ABPLC026410);
             42.   Family of Muhammad Ramadan Muhammad al-Kafarna;
             43.   Juma Abd al-Rahim Muhammad Badawi (see, e.g., ABPLC026349);
             44.   Family of Yaser Juma Abd al-Rahim Badawi;
             45.   Yasin Darwish al-Madhun (see, e.g., ABPLC010629);



                                       17
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22            Page 19 of 23 PageID #:
                                           1185



                46.    Family of Muhammad Yasin al-Madhun;
                47.    Ibrahim Khalaf Juma Bajali (see, e.g., ABPLC030675);
                48.    Family of Ra’fat Ibrahim Khalaf Bajali;
                49.    Muna Ayesh Abd Abayat (see, e.g., ABPLC190144);
                50.    Family of Husein Muhammad Salem Abayat;
                51.    Linda Ahmad Muhammad Shibani (see, e.g., ABPLC030682); and
                52.    Family of Ra’ed Muhammad Sa’id al-Karmi.

         20.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the families of the following Fatah/AAMB terrorists who were
 incarcerated in Israeli prisons, including, but not limited to, transaction records, account
 statements, account opening documentation, communications concerning the transactions and/or
 recipients, receipts issued by Arab Bank to account holders and/or payees, and death certificates,
 photographic identification and/or proof of incarceration for the individuals that qualified the
 account holder or payee to receive payment:

                1.     Bahiya Hamad Nimer Jabara (see, e.g., ABPLC012091);
                2.     Samira Suliman al-Barghuthi (see, e.g., ABPLC01225);
                3.     Ahmad Ibrahim Musleh al-Satri (see, e.g., ABPLC011053); and
                4.     Nur Nihad Khalil al-Kayal (see, e.g., ABPLC011058).

         21.    All Documents concerning transactions processed by Arab Bank on behalf of the
 Saudi Committee for the benefit of the following Fatah/AAMB operatives, including, but not
 limited to, transaction records, account statements, account opening documentation,
 communications concerning the transactions and/or recipients, receipts issued by Arab Bank to the
 Fatah/AAMB operatives, and death certificates, photographic identification, certificates of
 martyrdom and/or proof of incarceration for the individuals that qualified Fatah/AAMB operatives
 to receive payment:

                1.     Qusai Faysal Tawfiq Zahran (see, e.g., ABPLC014784, ABPLC011683);
                2.     Rami Ismail Ali Alayan (see, e.g., ABPLC013740);
                3.     Jamal Abd Rabo Muhammad Abu al-Jadyan (see, e.g., ABPLC019353);
                4.     Ahmad Ata Yusuf Abu Saltah (see, e.g., ABPLC016657);
                5.     Jihad Isma’il Ashur al-Amaryn (see, e.g., ABPLC019421);
                6.     Sami Jawdat Barbakh (see, e.g., ABPLC013158);
                7.     Murad Suliman Zuhdi Marshud (see, e.g., ABPLC016908);
                8.     Tamer Rasem al-Rimawi (see, e.g., ABPLC016023); and
                9.     Ahmad Tawfiq Barbakh (see, e.g., ABPLC012930).

         22.     All Documents concerning transactions processed by Arab Bank on behalf of the
 Al Ansar Society for the families of “Martyrs” and prisoners, including, but not limited to,
 transaction records, receipts issued by Arab Bank to account holders and/or payees, and death
 certificates, photographic identification, certificates of martyrdom or proof of imprisonment for
 the individuals that qualified the account holder or payee to receive payment.




                                                18
Case 1:18-cv-02192-HG-PK            Document 84-7 Filed 03/04/22           Page 20 of 23 PageID #:
                                              1186



         23.   All Documents concerning transactions processed by Arab Bank to or from the
 Palestinian Ministry of Social Welfare’s Institute for the Care of Martyrs’ Families and the Injured
 that concern “Martyrs” and prisoners.

        24.     All Documents concerning transactions processed by Arab Bank to or from the
 PLO.

         25.    All Documents concerning transactions processed by Arab Bank to or from the
 Palestine National Fund.


         26.    All Documents concerning accounts maintained at Arab Bank in the name of or for
 the benefit of the following organizations, including but not limited to documents identifying
 account numbers of such accounts, individuals or entities that opened such accounts, and the
 deposit of funds into and disbursement of funds out of such accounts; the source of funds deposited
 into such accounts and the recipients of funds disbursed from such accounts; the identity of Arab
 Bank employees with knowledge of such accounts; and all correspondence between Arab Bank
 and such organization:

                a.      Palestinian Islamic Jihad;

                b.      Popular Front for the Liberation of Palestine;

                c.      Al Aqsa Martyrs Brigade;

                d.      Fatah/Tanzim;

                e.      Force 17;

                f.      Fatah Hawks;

                g.      Ahmad Abu al-Rish Brigades; and

                h.      Palestinian Authority Institute for the Care of Martyrs’ Families and the
                        Injured.

        27.       All Documents concerning the announcement by Arab Bank on or about October
 7, 2000, that it would make donations to Palestinians injured in the Second Intifada.

         28.    All Documents concerning any pledges or payments by, or on behalf of, Arab Bank,
 or its employees, to the Fund for Support of the Persistence of the Palestinian People, including a
 pledge and payment by Arab Bank of approximately $2,000,000 to that entity.

        29.    Documents sufficient to identity any Arab Bank employees with knowledge of any
 pledge or payment referred to in Request No. 28.




                                                 19
Case 1:18-cv-02192-HG-PK         Document 84-7 Filed 03/04/22            Page 21 of 23 PageID #:
                                           1187



         30.     All Documents concerning accounts maintained at Arab Bank in the name of or for
 the benefit of the Saudi Committee, including but not limited to documents identifying account
 numbers of such accounts, individuals or entities that opened such accounts, and the deposit of
 funds into and disbursement of funds out of such accounts; the source of funds deposited into such
 accounts and the recipients of funds disbursed from such accounts; all correspondence between
 Arab Bank and the Saudi Committee; all transactions initiated with Arab Bank by Arab National
 Bank or the Islamic Development Bank or National Commercial Bank on behalf of the Saudi
 Committee; and the identity of Arab Bank employees with knowledge of such accounts and
 transactions.

        31.     All Documents concerning efforts by Arab Bank to aid, implement or administer
 programs of the Saudi Committee designed to provide payments to the families of individuals,
 including Palestinians in Israeli custody, Martyrs and Suicide Bombers, killed or injured during
 the Second Intifada and the identity of Arab Bank employees with knowledge of such efforts.

        32.    All Documents concerning efforts by Arab Bank to aid, implement or administer
 programs of the Al Ansar Society designed to provide payments to the families of individuals,
 Martyrs and Suicide Bombers, killed or injured during the Second Intifada and the identity of Arab
 Bank employees with knowledge of such efforts.

        33.      All Documents concerning efforts by Arab Bank to aid, implement or administer
 programs of the Institute for the Care of Martyrs’ Families and the Injured designed to provide
 payments to the families of Palestinian prisoners in Israeli custody and former prisoners or the
 families of Martyrs and Suicide Bombers, killed or injured prior to or during the Second Intifada
 and the identity of Arab Bank employees with knowledge of such efforts.

         34.    All Documents concerning listings or databases provided to or maintained by Arab
 Bank containing the names of Palestinians in Israeli custody, Martyrs, Suicide Bombers or other
 persons killed or injured during the Second Intifada, the dates and manner of death, payments
 made to the families of such persons and Arab Bank contacts with the Saudi Committee and/or
 HAMAS regarding such listings and databases, including, but not limited to, Documents which
 identify Arab Bank employees with knowledge of such listings and databases.

         35.     All Documents concerning Arab Bank’s receipt of certifications by the Palestinian
 Authority provided to families of Palestinians in Israeli custody, Martyrs, Suicide Bombers and/or
 other persons killed or injured during the Second Intifada which make such families eligible to
 receive payments through Arab Bank and receipts issued to such families confirming such
 payments, including Documents which identify Arab Bank employees with knowledge of such
 certifications and receipts.

        36.    Documents evidencing any document retention or destruction policy that you
 maintained from 1998 to the present.

         37.     Documents evidencing any anti-money laundering or anti-terrorism financing
 policies that you maintained during the Relevant Time Period.




                                                20
Case 1:18-cv-02192-HG-PK      Document 84-7 Filed 03/04/22          Page 22 of 23 PageID #:
                                        1188



        38.     Documents evidencing any Know Your Customer policies that you maintained
 during the Relevant Time Period.

       39.    All Documents not otherwise requested above that concern the relationship
 between Arab Bank and the Saudi Committee.


 Date: July 22, 2019


                                         By:    /s/ Aaron Schlanger
                                                OSEN LLC
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                                           21
Case 1:18-cv-02192-HG-PK   Document 84-7 Filed 03/04/22       Page 23 of 23 PageID #:
                                     1189



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                                      22
